Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 1 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 2 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 3 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 4 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 5 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 6 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 7 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 8 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 9 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 10 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 11 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 12 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 13 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 14 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 15 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 16 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 17 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 18 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 19 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 20 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 21 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 22 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 23 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 24 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 25 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 26 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 27 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 28 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 29 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 30 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 31 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 32 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 33 of 34
Case 19-10782   Doc 163   Filed 03/30/20 Entered 03/30/20 14:58:28   Desc Main
                          Document      Page 34 of 34
